     Case 2:07-cr-00132-PMP-RJJ            Document 100       Filed 10/19/10     Page 1 of 4




 1    DANIEL G. BOGDEN
      United States Attorney
 2    ADAM M. FLAKE
      Assistant United States Attorney
 3    333 Las Vegas Blvd. South
      Suite 5000
 4    Las Vegas, Nevada 89101
      (702) 388-6336
 5

 6                        UNITED STATES DISTRICT COURT
 7                             DISTRICT OF NEVADA
 8                                     -oOo-
 9    UNITED STATES OF AMERICA,                      )
                                                     ) 2:07-cr-132-PMP-RJJ
10                            Plaintiff,             )
                                                     )
11           vs.                                     ) GOVERNMENT’S MOTION
                                                     ) FOR CONTINUANCE
12    KATHY NELSON,                                  )
                                                     )
13                      Defendant.                   )
      _______________________________)
14

15               COMES NOW the United States of America, by and through DANIEL G. BOGDEN, United

16    States Attorney, and ADAM M. FLAKE, Assistant United States Attorney, and respectfully requests

17    this court to enter an order granting the Government’s motion to continue the date for the response

18    to defendant Kathy Nelson’s motion under 28 U.S.C. § 2255, which Nelson filed on or about August

19    3, 2010.

20               On August 23, 2010, the Court ordered the Government to respond to this motion by

21    September 20, 2010. By this motion, the United States requests that the deadline be continued until

22    October 20, 2010.

23               As grounds for this motion, the Government avers as follows:

24               1.     Undersigned counsel, who is responsible for responding to Nelson’s motion, is

25    presently reviewing the record. Among the issues raised are the conduct and competence of Nelson’s

26    former counsel and the conduct of the prosecutor who tried the case. These issues will require review
     Case
      Case2:07-cr-00132-PMP-RJJ
            2:07-cr-00132-PMP-RJJ Document
                                   Document100  Filed09/09/10
                                            96 Filed  10/19/10 Page
                                                                 Page 2 of
                                                                    2 of 4 4




 1    of the record, legal research, and possibly a motion to waive the attorney client privilege to allow

 2    Nelson’s former counsel to address Nelson’s allegations.

 3            2.      This is the Government’s first request for an extension of time to file its response.

 4    Undersigned counsel avows that he has exercised diligence since being assigned this matter; that he

 5    seeks this extension in good faith and not for purposes of delay; and that he anticipates that the

 6    response will be filed within the additional time requested.

 7            3.      To the undersigned’s knowledge, Nelson is not represented by counsel. The

 8    undersigned has not spoken with Nelson, but does not have any reason to believe Nelson has any basis

 9    to oppose this request.

10            DATED: this 9th day of September, 2010.

11                                                    Respectfully submitted,

12
                                                      DANIEL G. BOGDEN
13                                                    United States Attorney

14

15                                                        /s/ Adam M. Flake
                                                      ADAM M. FLAKE
16                                                    Assistant United States Attorney

17

18

19

20

21

22

23

24

25

26
                                                       2
     Case 2:07-cr-00132-PMP-RJJ         Document 100       Filed 10/19/10     Page 3 of 4




 1
                                 UNITED STATES DISTRICT COURT
 2
                                        DISTRICT OF NEVADA
 3

 4                                                 -oOo-

 5    UNITED STATES OF AMERICA,                   )
                                                  ) No. 2:07-cr-132-PMP-RJJ
 6                         Plaintiff,             )
                                                  )
 7           vs.                                  ) ORDER
                                                  )
 8    KATHY NELSON,                               )
                                                  )
 9                         Defendant.             )
                                                  )
10
             Based upon the pending motion of the United States, and good cause appearing, IT IS
11
      THEREFORE ORDERED that the United States motion for a continuance is GRANTED. The
12
      United States’ response to defendant’s Petition Under 28 U.S.C. § 2255 is due October 20, 2010.
13

14
             DATED this 19th day
                           day of of October, 2010. , 2010.
15

16

17

18                                               UNITED STATES DISTRICT JUDGE

19

20

21

22

23

24

25

26
                                                     3
     Case
      Case2:07-cr-00132-PMP-RJJ
            2:07-cr-00132-PMP-RJJ Document
                                   Document100  Filed09/09/10
                                            96 Filed  10/19/10 Page
                                                                 Page 4 of
                                                                    4 of 4 4




 1                                      CERTIFICATE OF SERVICE

 2           I hereby certify that on September 9, 2010, I electronically filed the foregoing

 3    GOVERNMENT’S MOTION FOR CONTINUANCE with the Clerk of the Court for the United

 4    States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system.

 5           Participants in the case who are registered CM/ECF users will be served by the appellate

 6    CM/ECF system. I further certify that some of the participants in the case are not registered CM/ECF

 7    users. I have mailed the foregoing document by First-Class Mail, postage prepaid, to the following:

 8    Robert W. Story
      STORY LAW GROUP
 9    245 E. Liberty St., Suite 530
      Reno, NV 89501
10

11    Kathy Nelson
      355109
12    2322 N. Las Vegas Boulevard
      Suite 200
13    North Las Vegas, NV 89030

14
                                             /s/ Terrie Murray
15                                         TERRIE MURRAY
                                           Legal Assistant
16

17

18

19

20

21

22

23

24

25

26
                                                       4
